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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 UNITED STATES OF AMERICA,                                Case No.: 2:15-cr-00014-APG-VCF

 4          Plaintiff                                                      Order

 5 v.

 6 OMAR QAZI,

 7          Defendant

 8         The Government filed an ex parte motion in limine to preclude introduction at trial of

 9 findings Judge Boulware made regarding Sergeant Frank Bien in a separate case, United States v.

10 Frank Chavez, 2:15-cr-00035-RFB-CWH. The Government requests both that I preclude

11 introduction of this evidence at trial and that I order that the Government need not disclose this

12 information to defendant Omar Qazi.

13         The Government has not provided any authority for the proposition that it need not

14 disclose this information to Qazi. It is arguably impeachment information that would have to be

15 disclosed under Giglio v. United States, 405 U.S. 150 (1972). That the information may be

16 inadmissible at Qazi’s trial does not relieve the Government of its disclosure obligations. I

17 therefore deny the motion to the extent it asks me to rule the Government need not disclose this

18 information to Qazi. I direct the Government to file its motion on the publicly accessible docket

19 so Qazi may respond to the Government’s motion in limine to exclude the evidence from trial.

20 While I am inclined to agree with the Government that the information is collateral to the issues

21 in Qazi’s trial and would result in a prejudicial and wasteful mini-trial about the Chavez case, I

22 decline to rule on the motion to exclude without giving Qazi an opportunity to respond.

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 1          IT IS THEREFORE ORDERED that the Government’s request for an order that the

 2 Government need not disclose the information in its ex parte motion is DENIED.

 3          IT IS FURTHER ORDERED that the Government must file its ex parte motion on the

 4 publicly accessible docket by July 17, 2018 and immediately serve it on Qazi.

 5          IT IS FURTHER ORDERED that any opposition to the motion must be filed by July 24,

 6 2018.

 7          DATED this 16th day of July, 2018.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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